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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

RICHARD COOEY, et al.

               Plaintiffs,

       v.                                              Case No. 2:04-cv-1156
                                                       JUDGE GREGORY L. FROST
ROBERT TAFT, Governor, et al.                          Magistrate Judge Mark R. Abel

               Defendants.

                                     OPINION AND ORDER

       Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

plaintiff in a civil rights action pending before this Court that challenges multiple facets of the

lethal injection protocol used by the State of Ohio. This matter is before the Court on Nicole

Diar’s motion to intervene as a plaintiff-intervenor (Doc. # 154).

       Without conceding any issues previously argued in response to other inmates who have

moved to intervene in this lawsuit or waiving any arguments with respect to the issue of

“ripeness,” Defendants do not oppose Nicole Diar’s intervention in this case (Doc. # 157).

       Diar, who was sentenced to death on November 2, 2005, seeks to intervene in this case as

of right pursuant to Fed. R. Civ. P. 24(a)(2), and in the alternative, for permissive intervention

under Fed. R. Civ. P. 24(b)(2). Because the Court decides, as it has with respect to every other

motion to intervene that has been filed in this case, that Diar has demonstrated that permissive

intervention is warranted, it is unnecessary for the Court to determine whether Diar has

demonstrated that she is entitled to intervention of right under Fed. R. Civ. P. 24(a)(2). See

Secretary of Department of Labor v. King, et al., 775 F.2d 666, 668 (6th Cir. 1985) (“Since we

hold that the District Court did not abuse its discretion in allowing the Bank to intervene under
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Fed. R. Civ. P. 24(b)(2), we need not consider whether Fed. R. Civ. P. 24(a)(2) gave the Bank

the right to intervene.”).

        Upon review of Diar’s motion to intervene and accompanying exhibits, and because

Defendants do not object, the Court concludes that Diar has demonstrated that permissive

intervention is warranted. Rule 24(b)(2) governing permissive intervention provides in relevant

part:

        Upon timely application anyone may be permitted to intervene in an action: . . .
        (2) when an applicant’s claim or defense and the main action have a question of
        law or fact in common. . . . In exercising its discretion the court shall consider
        whether the intervention will unduly delay or prejudice the adjudication of the
        rights of the original parties.

Fed. R. Civ. P. 24(b)(2). First, the Court concludes that Diar’s application is timely. Because

this litigation remains in its early stages, intervention at this point will not prejudice the original

parties to this litigation. See, e.g., United States v. Tennessee, 260 F.3d 587, 592 (6th Cir. 2001)

(quoting Grubbs v. Norris, 870 F.2d 343, 345 (6th Cir. 1989)). The Court further concludes that

because Diar’s proffered complaint and the main action involve the same method-of-execution

challenge, they have questions of law and facts in common.

        For the foregoing reasons, the Court in its discretion hereby GRANTS Nicole Diar’s

motion to intervene as plaintiff-intervenor (Doc. # 154). The Clerk shall detach the proffered

complaint and file said pleading on the docket.

        IT IS SO ORDERED.
                                                         s/ Gregory L. Frost
                                                        GREGORY L. FROST
                                                        UNITED STATES DISTRICT JUDGE




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